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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


 UNITED STATES OF AMERICA,


 vs.                                                   CASE NO. 8:02-CR-449-T-17


 PHILLIP WAINWRIGHT
                                        /

                                             ORDER

         This cause comes before the Court on the sua sponte motion for modification of sentence,
 the requested modification was based on the retroactive application of revised cocaine base
 sentencing guidelines (Docket No. 388). The Court appointed counsel in this case and required
 responses from the United States Probation Office, the government, and the defendant through
 his appointed counsel. The Court has received and reviewed the responses (Docket Nos. 394
 and 399 and Probation’s Retroactive Crack Cocaine Amendment Eligibility Assessment). The
 government and probation agree is not eligible for a reduction in sentence based on the amended
 guidelines and the defendant agrees that there has not been an actual change in the defendant’s
 base offense level but asks the Court to reduce the level anyway. Accordingly, it is.


         ORDERED that the motion for modification of sentence, the requested modification was
 based on the retroactive application of revised cocaine base sentencing guidelines (Docket No.
 388) be denied.


         DONE AND ORDERED in Chambers in Tampa, Florida this 12th day of September,
 2008.
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